     Case 16-18095-MBK           Doc 29   Filed 04/08/17 Entered 04/10/17 09:25:51                Desc Main
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      BRUCE D. GORDON LLC
      Attorneys for Columbia Bank
      2050 Center Avenue, Suite 560                                              Order Filed on April 8, 2017
      Fort Lee, New Jersey 07024                                                           by Clerk
                                                                                   U.S. Bankruptcy Court
      (201) 585-2600                                                               District of New Jersey
      Bruce D. Gordon
      bgordon@bgordonlaw.com
       In Re:                                            UNITED STATES BANKRUPTCY COURT
                                                         FOR THE DISTRICT OF NEW JERSEY
       Francine Jomo,
                                                         CHAPTER 13
                  Debtor.
                                                         CASE NO. 16-18095-MBK

         CONSENT ORDER RESOLVING MOTION OF COLUMBIA BANK FOR RELIEF
                          FROM THE AUTOMATIC STAY
                The relief set forth on the following pages numbered two (2) through three (3) is hereby

      ORDERED.




DATED: April 8, 2017
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Debtor: Francine Jomo
Case No: 16-18095-MBK
Caption of Order: CONSENT ORDER RESOLVING MOTION OF COLUMBIA BANK FOR
RELIEF FROM THE AUTOMATIC STAY
______________________________________________________________

       Upon motion of Columbia Bank (“Columbia”) under Bankruptcy Code §362(d) for relief

from the automatic stay as to the property located at 595 Tennent Road, Manalapan, NJ 07726 (the

“Property”), and upon the undersigned consent of counsel for the above-captioned Debtor (the

“Debtor”) and Columbia, and for good cause appearing therefore, it is hereby

       ORDERED as follows:

       1.      The Debtor owes Columbia the arrears as follows (the “Post-petition Arrears”) as

of April 5, 2017, with respect to the mortgage(s) and mortgage note(s) for the Property and shall

repay the Post-petition Arrears as follows:

 Payment dues           Amount                                            Repayment date
 2/5/2017 payment       2,454.64 + late fee 98.19 = 2552.83               4/14/17
 3/5/2017 payment       2,454.64 + late fee 98.19 = 2552.83               4/28/17
 4/5/2017 payment       2,454.64 + late fee 98.19 = 2552.83               5/12/17

Regular payment resumes May, 2017.

       2.      Except as otherwise provided herein, the Debtor shall timely pay and remain current

with all post-petition payments due to Columbia outside the plan, in the amounts as provided for in

accordance with terms and the mortgage(s) and mortgage note(s) executed by Debtor in favor of

Columbia.

       3.      The Debtor shall become current with all real estate taxes due on the Property by

April 11, 2017, and provide proof thereof to Columbia. Debtor shall thereafter timely pay and

remain current with all real estate taxes on the Property, commencing with the 2017, 2nd quarter real
estate tax payment, which shall be paid on May 1, 2017.

       4.      If the Debtor should default and fail to make payments in accordance with this

Order, or timely pay real estate taxes on the Property when due, or, within thirty (30) days from

the due date, fail to make future post-petition payments to Columbia, Columbia’s counsel may

submit a certification of default and the Court may enter an Order vacating the automatic stay,

permitting Columbia to proceed with its action against the Property. In the event of a default,
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______________________________________________________________

Columbia reserves all of its rights under the agreements between the Debtor and Columbia,

including but not limited to the right to charge late fees and attorneys’ fees and costs.

       5.       Columbia shall serve this Order on the Debtor.


Consented to:

Bruce D. Gordon LLC                                   William H. Oliver, Jr., Esquire
Attorneys for Columbia Bank                           Attorneys for Debtor


By: /s/ Bruce D. Gordon                               By: /s/ William H. Oliver, Jr.
        Bruce D. Gordon                                      William H. Oliver, Jr.

Dated: April 7, 2017                           Dated: April 7, 2017




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- Jomo.doc
